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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                        Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.


                         JOINT MOTION FOR EXTENSION OF TIME

       Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Plaintiff Federal Trade

Commission (“FTC”) and Defendant Meta Platforms, Inc. (“Meta”) respectfully move for an

extension of time to file proposals on procedures governing confidentiality at trial, which are

currently due today. See Order (Dec. 20, 2024) at 2, ECF 390 (setting February 24, 2025

deadline for “submission of parties’ proposed confidentiality procedures”). The parties jointly

request that the Court extend by one day the deadline to submit proposed confidentiality

procedures to February 25, 2025.

       Good cause exists for this joint request. See Fed. R. Civ. P. 6(b)(1)(A). The parties have

met and conferred, exchanged proposals, and are continuing to negotiate in good faith to reach

compromise where possible. Both parties have recently exchanged revised proposals, and the

parties believe that an additional day may help narrow or eliminate potential disputes. This brief

extension will not impact any other case deadlines.
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Dated: February 24, 2025          Respectfully submitted,

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